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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                    NO. 4:13CR00268 JLH

MAXWELL VICTOR MASON,
JAMES VERNON MCKNIGHT,
KEITH W. BURFORD,
JUSTIN JAY TAYLOR,
BLAKE LYNN TAYLOR,
AUSTIN H. TAYLOR, and
TIMOTHY PAUL INMANN                                                                  DEFENDANTS

                                              ORDER

       Pending before the Court is defendant Justin Jay Taylor’s Motion for Continuance of the trial

of this matter1. Document #79. The Court has determined that due to the number of defendants and

attorneys involved in this case the most efficient manner of which to handle the motion for

continuance will be to establish a deadline for any defendant opposing the motion to file a response

in opposition.

       The defendants appeared for plea and arraignment on different dates and some were assigned

different initial trial dates. The Court finds that no severance has been granted in this matter. Since

the defendants are jointly indicted on similar evidence from the same event, their trial date should be

conducted on the same date.

       IT IS THEREFORE ORDERED that any defendant opposing defendant Justin Jay Taylor’s

motion for continuance must file a response in opposition on or before OCTOBER 18, 2013. It will

not be necessary for any defendant who supports the motion for a continuance to respond.

       1
         Defendants Justin Jay Taylor and Blake Lynn Taylor were arraigned on September 17, 2013,
and assigned a trial date of October 21, 2013. The remaining defendants appeared for plea and
arraignment on September 24, 2013, and were assigned a trial date of October 28, 2013.
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       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before October 18, 2013, joins in the motion for continuance and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 7th day of October, 2013.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
